Case 1:16-cv-01266-RGA            Document 1   Filed 12/19/16      Page 1 of 23 PageID #: 1




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


  IPA TECHNOLOGIES INC.,

                     Plaintiff,                  C.A. No. _________________

  v.
                                                 JURY TRIAL DEMANDED
  AMAZON.COM, INC., and AMAZON
  DIGITAL SERVICES, LLC,

                     Defendants.


                        COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff IPA Technologies Inc. (“IPA”) as and for its complaint against

  Amazon.com, Inc. (“Amazon”) and Amazon Digital Services, LLC (“ADS”) alleges as

  follows:

                                         PARTIES

         1.     IPA is a Delaware corporation with a principal place of business at 600

  Anton Blvd., Suite 1350, Costa Mesa, California 92626.

         2.     On information and belief, Defendant Amazon.com, Inc. is a Delaware

  corporation with a principal place of business at 410 Terry Avenue North, Seattle,

  Washington 98109. Amazon can be served with process through its registered agent, the

  Corporation Services Company, 2711 Centerville Road, Suite 400, Wilmington,

  Delaware 19808.

         3.     On information and belief, Defendant Amazon Digital Services, LLC is a

  Delaware limited liability company with a principal place of business at 410 Terry

  Avenue North, Seattle, Washington 98109. ADS can be served with process through its
Case 1:16-cv-01266-RGA          Document 1          Filed 12/19/16    Page 2 of 23 PageID #: 2




  registered agent, the Corporation Services Company, 2711 Centerville Road, Suite 400,

  Wilmington, Delaware 19808.

         4.      Amazon and ADS are referred to collectively as Defendants.

                               JURISDICTION AND VENUE

         5.      This action arises under the patent laws of the United States, Title 35 of

  the United States Code. Accordingly, this Court has subject matter jurisdiction under 28

  U.S.C. §§ 1331 and 1338(a).

         6.      This Court has specific and general personal jurisdiction over Defendants

  pursuant to due process and/or the Delaware Long Arm Statute, due to Defendants having

  availed themselves of the rights of benefits of Delaware by incorporating under Delaware

  law and due to their substantial business in this forum, including: (i) at least a portion of

  the infringement alleged herein; and (ii) regularly doing or soliciting business, engaging

  in other persistent courses of conduct, and/or deriving substantial revenue from goods

  and services provided to individuals in Delaware and in this Judicial District.

         7.      Venue is proper in this District under 28 U.S.C. §§ 1391 (b)-(c) and

  1400(b) because Defendants are subject to personal jurisdiction in this District.

                                       BACKGROUND

         8.      SRI International, Inc. (“SRI”), the original owner of the patents-in-suit, is

  an independent, not-for-profit research institute that conducts client-supported research

  and development for government agencies, commercial businesses, foundations, and

  other organizations.




                                                2
Case 1:16-cv-01266-RGA         Document 1          Filed 12/19/16    Page 3 of 23 PageID #: 3




         9.      Among its many areas of research, SRI has engaged in fundamental

  research and development related to personal digital assistants and speech-based

  navigation of electronic data sources.

         10.     SRI’s innovative work on personal digital assistants was a key area of

  development in one of the world’s largest artificial intelligence projects, the Cognitive

  Assistant that Learns and Organizes (“CALO”). The vision for the SRI-led CALO

  project, which was funded by the U.S. Defense Advanced Research Projects Agency

  (“DARPA”), was to create groundbreaking software that could revolutionize how

  computers support decision-makers.

         11.     SRI’s work on personal digital assistants and speech-based navigation of

  electronic data sources, which started before the launch of the CALO project, developed

  further as part of the project. SRI’s engineers were awarded numerous patents on their

  groundbreaking personal digital assistant and speech-based navigation inventions.

         12.     To bring the personal digital assistant and speech-based navigation

  technology to the marketplace, SRI formed the spin-off company Siri, Inc. in 2007, and

  granted it a non-exclusive license to the patent portfolio. The technology was

  demonstrated as an iPhone app at technology conferences and later released as an iPhone

  3GS app in February 2010. In April 2010, Apple Inc. acquired Siri, Inc. In 2011, the Siri

  personal digital assistant was released as an integrated feature of the iPhone 4S.

         13.     Speech-based navigation of electronic data sources has continued to be

  implemented as an effective and user-friendly solution for interacting with electronic

  devices.




                                               3
Case 1:16-cv-01266-RGA          Document 1          Filed 12/19/16    Page 4 of 23 PageID #: 4




         14.      On May 6, 2016, IPA acquired the SRI speech-based navigation patent

  portfolio. IPA is a wholly-owned subsidiary of WiLAN, a leading technology innovation

  and licensing business actively engaged in research, development, and licensing of new

  technologies.

                                    ASSERTED PATENTS

         15.      IPA is the owner by assignment of U.S. Patent No. 6,742,021 (the “’021

  Patent”). The ’021 Patent is entitled “Navigating Network-Based Electronic Information

  Using Spoken Input With Multimodal Error Feedback.” The ’021 Patent issued on May

  25, 2004. A true and correct copy of the ’021 Patent is attached hereto as Exhibit A.

         16.      IPA is the owner by assignment of U.S. Patent No. 6,523,061 (the “’061

  Patent”). The ’061 Patent is entitled “System, Method, and Article of Manufacture For

  Agent-Based Navigation in a Speech-Based Data Navigation System.” The ’061 Patent

  issued on February 18, 2003. A true and correct copy of the ’061 Patent is attached

  hereto as Exhibit B.

         17.      IPA is the owner by assignment of U.S. Patent No. 6,757,718 (the “’718

  patent”). The ’718 Patent is entitled “Mobile Navigation of Network-Based Electronic

  Information Using Spoken Input.” The ’718 Patent issued on June 29, 2004. A true and

  correct copy of the ’718 Patent is attached hereto as Exhibit C.

                                         COUNT I
                         (Infringement of U.S. Patent No. 6,742,021)

         18.      Plaintiff re-alleges and incorporates by reference the allegations in the

  foregoing paragraphs as if fully set forth herein.




                                                4
Case 1:16-cv-01266-RGA          Document 1          Filed 12/19/16   Page 5 of 23 PageID #: 5




         19.     Plaintiff is informed and believes, and on that basis alleges, that

  Defendants have infringed and are currently infringing one or more claims (e.g., claim 1)

  of the ’021 Patent, in violation of 35 U.S.C. § 271.

         20.     Defendants have infringed and are currently infringing literally and/or

  under the doctrine of equivalents, by, among other things, making, using, offering for

  sale, selling, and/or importing within this judicial district and elsewhere in the United

  States, without license or authority, infringing products, including but not limited to Fire

  TV, Fire TV Stick, Fire TV Gaming Edition, Fire tablet, and Fire HD tablet, and related

  products and/or processes falling within the scope of one or more claims of the ’021

  Patent, including claim 1. Exemplary claim 1 is reproduced below:

         A method for speech-based navigation of an electronic data source, the electronic
         data source being located at one or more network servers located remotely from a
         user, comprising the steps of:

         (a) receiving a spoken request for desired information from the user;

         (b) rendering an interpretation of the spoken request;

         (c) constructing at least part of a navigation query based upon the interpretation;
         (d) soliciting additional input from the user, including user interaction in a non-
         spoken modality different than the original request without requiring the user to
         request said non-spoken modality;

         (e) refining the navigation query, based upon the additional input;

         (f) using the refined navigation query to select a portion of the electronic data
         source; and

         (g) transmitting the selected portion of the electronic data source from the
         network server to a client device of the user.

         21.     Defendants’ acts of making, using, offering for sale, selling, and/or

  importing infringing products, including but not limited to Fire TV, Fire TV Stick, Fire

  TV Gaming Edition, Fire tablet, and Fire HD tablet, and related products and/or



                                                5
Case 1:16-cv-01266-RGA          Document 1          Filed 12/19/16    Page 6 of 23 PageID #: 6




  processes satisfy, literally or under the doctrine of equivalents, each and every claim

  limitation, including but not limited to limitations of claim 1. For example, Defendants’

  Fire TV product uses speech-based navigation of an electronic data source. The Fire TV

  product receives a spoken request for desired information from the user (such as a spoken

  request for sports scores, weather, music, or a particular television show or movie),

  renders an interpretation of the spoken request, constructs at least part of a navigation

  query based on the spoken request, solicits additional input from the user, including user

  interaction in a non-spoken modality different than the original request without requiring

  the user to request the non-spoken modality, and transmits the selected portion from a

  network server to the Fire TV device, as described on the Fire TV product page at

  http://amazon.com:1




  1
   Plaintiff reserves the right to identify additional asserted claims as this litigation
  proceeds. For example, Plaintiff expressly reserves the right to identify additional
  asserted claims in their infringement contentions to be served during the discovery
  process.



                                                6
Case 1:16-cv-01266-RGA          Document 1           Filed 12/19/16    Page 7 of 23 PageID #: 7




         22.     Defendants have also infringed indirectly and continue to infringe

  indirectly the ’021 Patent by active inducement under 35 U.S.C. § 271(b).

         23.     On information and belief, Defendants gained knowledge of the ’021

  Patent no later than the filing of this complaint or shortly thereafter.

         24.     On information and belief, Defendants have intended, and continue to

  intend, to induce patent infringement by its users and have had knowledge that the

  inducing acts would cause infringement or have been willfully blind to the possibility that

  their inducing acts would cause infringement. For example, Defendants encourage end

  users to perform speech-based navigation of an electronic data source using a method as

  claimed in claim 1 of the ’021 Patent through the very nature of the products. As a

  further example, Defendants instruct users on how to use the infringing products to


                                                 7
Case 1:16-cv-01266-RGA          Document 1           Filed 12/19/16   Page 8 of 23 PageID #: 8




  perform speech-based navigation of an electronic data source using a method as claimed

  in claim 1 of the ’021 Patent (e.g., “Use Your Voice to Search Amazon Fire TV

  Devices,” available at

  https://www.amazon.com/gp/help/customer/display.html?nodeId=201497650). By using

  the infringing products to perform speech-based navigation of an electronic data source,

  users directly infringe at least claim 1 of the ’021 Patent. By continuing to provide

  instructions to users on how to use the infringing products to perform speech-based

  navigation of an electronic data source using a system as claimed in claim 1 of the ’021

  Patent, and by continuing to encourage such use, Defendants have and continue to

  specifically intend to induce infringement of the ’021 Patent.

          25.     Defendants have also infringed indirectly and continue to infringe

  indirectly the ’021 Patent by contributory infringement under 35 U.S.C. § 271(c).

          26.     Defendants have and continue to intentionally commit contributory

  infringement by selling, offering to sell, or importing the infringing products, including

  but not limited to the Fire TV Stick, with the knowledge that the Fire TV Stick will be

  used by users with, for example, the Amazon Fire TV Remote app on users’ smartphones

  to directly infringe at least claim 1 of the ’021 Patent.

          27.     To the extent that facts learned in discovery show that Defendants’

  infringement of the ’021 Patent is or has been willful, Plaintiff reserves the right to

  request such a finding at the time of trial.

          28.     To the extent applicable, the requirements of 35 U.S.C. § 287(a) have been

  met with respect to the ’021 Patent.




                                                 8
Case 1:16-cv-01266-RGA          Document 1          Filed 12/19/16    Page 9 of 23 PageID #: 9




         29.     As a result of Defendants’ infringement of the ’021 Patent, Plaintiff has

  suffered monetary damages in an amount adequate to compensate for Defendants’

  infringement, but in no event less than a reasonable royalty for the use made of the

  invention by Defendants, together with interest and costs as fixed by the Court, and

  Plaintiff will continue to suffer damages in the future unless Defendants’ infringing

  activities are enjoined by this Court.

         30.     Unless a permanent injunction is issued enjoining Defendants and their

  agents, servants, employees, representatives, affiliates, and all others acting or in active

  concert therewith from infringing the ’021 Patent, Plaintiff will be greatly and irreparably

  harmed.

                                        COUNT II
                         (Infringement of U.S. Patent No. 6,523,061)

         31.     Plaintiff re-alleges and incorporates by reference the allegations in the

  foregoing paragraphs as if fully set forth herein.

         32.     Plaintiff is informed and believes, and on that basis alleges, that

  Defendants have infringed and are currently infringing one or more claims (e.g., claim 1)

  of the ’061 Patent, in violation of 35 U.S.C. § 271.

         33.     Defendants have infringed and are currently infringing literally and/or

  under the doctrine of equivalents, by, among other things, making, using, offering for

  sale, selling, and/or importing within this judicial district and elsewhere in the United

  States, without license or authority, infringing products, including but not limited to Fire

  TV, Fire TV Stick, Fire TV Gaming Edition, Fire tablet, Fire HD tablet, Echo, Echo Dot,

  and Tap, and related products and/or processes falling within the scope of one or more

  claims of the ’061 Patent, including claim 1. Exemplary claim 1 reproduced below:



                                                9
Case 1:16-cv-01266-RGA         Document 1        Filed 12/19/16      Page 10 of 23 PageID #: 10




          A method for utilizing agents for speech-based navigation of an electronic data
          source, comprising the steps of:

          (a) receiving a spoken request for desired information from a user;

          (b) rendering an interpretation of the spoken request;

          (c) constructing a navigation query based upon the interpretation;

          (d) routing the navigation query to at least one agent, wherein the at least one
          agent utilizes the navigation query to select a portion of the electronic data source;
          and

          (e) invoking a user interface agent for outputting the selected portion of the
          electronic data source to the user, wherein a facilitator manages data flow among
          multiple agents and maintains a registration of each of said agents' capabilities.

          34.     Defendants’ acts of making, using, offering for sale, selling, and/or

   importing infringing products, including but not limited to Fire TV, Fire TV Stick, Fire

   TV Gaming Edition, Fire tablet, Fire HD tablet, Echo, Echo Dot, and Tap, and related

   products and/or processes satisfy, literally or under the doctrine of equivalents, each and

   every claim limitation, including but not limited to limitations of claim 1. For example,

   Defendants’ Fire TV product uses speech-based navigation of an electronic data source.

   The Fire TV product receives a spoken request for desired information from the user

   (such as a spoken request for sports scores, weather, music, or a particular television

   show or movie), renders an interpretation of the spoken request, constructs a navigation

   query based on the interpretation, routes the navigation query to at least one agent that

   utilizes the navigation query to select a portion of the electronic data source, and invokes

   a user interface agent for outputting the selected portion of the electronic data source

   wherein a facilitator manages data flow among multiple agents and maintains a

   registration of each of the agents’ capabilities, as described on the Fire TV product page




                                                10
Case 1:16-cv-01266-RGA        Document 1       Filed 12/19/16      Page 11 of 23 PageID #: 11




   at http://amazon.com:2




   2
    Plaintiff reserves the right to identify additional asserted claims as this litigation
   proceeds. For example, Plaintiff expressly reserves the right to identify additional
   asserted claims in its infringement contentions to be served during the discovery process.



                                               11
Case 1:16-cv-01266-RGA          Document 1        Filed 12/19/16      Page 12 of 23 PageID #: 12




          35.     Defendants’ Echo product, for instance, also uses speech-based navigation

   of an electronic data source. The Echo product receives a spoken request for desired

   information from the user (such as a spoken request to play music, provide information,

   news, sports scores, or weather), renders an interpretation of the spoken request,

   constructs a navigation query based on the interpretation, routes the navigation query to

   at least one agent that utilizes the navigation query to select a portion of the electronic

   data source, and invokes a user interface agent for outputting the selected portion of the

   electronic data source wherein a facilitator manages data flow among multiple agents and

   maintains a registration of each of the agents’ capabilities, as described on the Echo

   product page at http://amazon.com:




                                                 12
Case 1:16-cv-01266-RGA          Document 1       Filed 12/19/16       Page 13 of 23 PageID #: 13




          36.     Defendants have also infringed indirectly and continue to infringe

   indirectly the ’061 Patent by active inducement under 35 U.S.C. § 271(b).

          37.     On information and belief, Defendants gained knowledge of the ’061

   Patent at least as early as November 2012, when the ’061 Patent was cited during

   prosecution of their affiliate Amazon Technologies Inc.’s patent, U.S. Patent No.

   8,977,966. On information and belief, in any event, Defendants gained knowledge of the

   ’061 Patent no later than the filing of this complaint or shortly thereafter.

          38.     On information and belief, Defendants have intended, and continue to

   intend, to induce patent infringement by its users and have had knowledge that the

   inducing acts would cause infringement or have been willfully blind to the possibility that

   their inducing acts would cause infringement. For example, Defendants encourage end

   users to perform speech-based navigation of an electronic data source using a method as




                                                 13
Case 1:16-cv-01266-RGA          Document 1        Filed 12/19/16    Page 14 of 23 PageID #: 14




   claimed in claim 1 of the ’061 Patent through the very nature of the products. As a

   further example, Defendants instruct users on how to use the infringing products to

   perform speech-based navigation of an electronic data source using a method as claimed

   in claim 1 of the ’061 Patent (e.g., “Use Your Voice to Search Amazon Fire TV

   Devices,” available at

   https://www.amazon.com/gp/help/customer/display.html?nodeId=201497650). By using

   the infringing products to perform speech-based navigation of an electronic data source,

   users directly infringe at least claim 1 of the ’061 Patent. By continuing to provide

   instructions to users on how to use the infringing products to perform speech-based

   navigation of an electronic data source using a system as claimed in claim 1 of the ’061

   Patent, and by continuing to encourage such use, Defendants have and continue to

   specifically intend to induce infringement of the ’061 Patent.

           39.     Defendants have also infringed indirectly and continue to infringe

   indirectly the ’061 Patent by contributory infringement under 35 U.S.C. § 271(c).

           40.     Defendants have and continue to intentionally commit contributory

   infringement by selling, offering to sell, or importing the infringing products, including

   but not limited to the Fire TV Stick, with the knowledge that the Fire TV Stick will be

   used by users with, for example, the Amazon Fire TV Remote app on users’ smartphones

   to directly infringe at least claim 1 of the ’061 patent.

           41.     Since at least November 2012, Defendants have been and still are willfully

   infringing the ’061 Patent. On information and belief, at least as early as November

   2012, Defendants had actual knowledge of the ’061 Patent. Despite having actual

   knowledge of the ’061 Patent, Defendants have continued to willfully, wantonly, and




                                                 14
Case 1:16-cv-01266-RGA          Document 1       Filed 12/19/16       Page 15 of 23 PageID #: 15




   deliberately infringe the ’061 Patent. Accordingly, Plaintiff seeks enhanced damages

   pursuant to 35 U.S.C. § 284 and a finding that this is an exceptional case within the

   meaning of 35 U.S.C. § 285, entitling Plaintiff to its attorneys’ fees and expenses.

          42.     To the extent applicable, the requirements of 35 U.S.C. § 287(a) have been

   met with respect to the ’061 Patent.

          43.     As a result of Defendants’ infringement of the ’061 Patent, Plaintiff has

   suffered monetary damages in an amount adequate to compensate for Defendants’

   infringement, but in no event less than a reasonable royalty for the use made of the

   invention by Defendants, together with interest and costs as fixed by the Court, and

   Plaintiff will continue to suffer damages in the future unless Defendants’ infringing

   activities are enjoined by this Court.

          44.     Unless a permanent injunction is issued enjoining Defendants and their

   agents, servants, employees, representatives, affiliates, and all others acting or in active

   concert therewith from infringing the ’061 Patent, Plaintiff will be greatly and irreparably

   harmed.

                                         COUNT III
                          (Infringement of U.S. Patent No. 6,757,718)

          45.     Plaintiff re-alleges and incorporates by reference the allegations in the

   foregoing paragraphs as if fully set forth herein.

          46.     Plaintiff is informed and believes, and on that basis alleges, that

   Defendants have infringed and are currently infringing one or more claims (e.g., claim 1)

   of the ’718 Patent, in violation of 35 U.S.C. § 271.

          47.     Defendants have infringed and are currently infringing literally and/or

   under the doctrine of equivalents, by, among other things, making, using, offering for



                                                 15
Case 1:16-cv-01266-RGA         Document 1        Filed 12/19/16      Page 16 of 23 PageID #: 16




   sale, selling, and/or importing within this judicial district and elsewhere in the United

   States, without license or authority, infringing products, including but not limited to Fire

   TV, Fire TV Stick, Fire TV Gaming Edition, Echo with Alexa Voice Remote, and Echo

   Dot with Alexa Voice Remote, and related products and/or processes falling within the

   scope of one or more claims of the ’718 Patent, including claim 1. Exemplary claim 1 is

   reproduced below:

          A method for speech-based navigation of an electronic data source located at one
          or more network servers located remotely from a user, wherein a data link is
          established between a mobile information appliance of the user and the one or
          more network servers, comprising the steps of:

          (a) receiving a spoken request for desired information from the user utilizing the
          mobile information appliance of the user, wherein said mobile information
          appliance comprises a portable remote control device or a set-top box for a
          television;

          (b) rendering an interpretation of the spoken request;

          (c) constructing a navigation query based upon the interpretation;

          (d) utilizing the navigation query to select a portion of the electronic data source;
          and

          (e) transmitting the selected portion of the electronic data source from the network
          server to the mobile information appliance of the user.

          48.     Defendants’ acts of making, using, offering for sale, selling, and/or

   importing infringing products, including but not limited to Fire TV, Fire TV Stick, Fire

   TV Gaming Edition, Echo with Alexa Voice Remote, and Echo Dot with Alexa Voice

   Remote, and related products and/or processes satisfy, literally or under the doctrine of

   equivalents, each and every claim limitation, including but not limited to limitations of

   claim 1. For example, Defendants’ Fire TV product uses speech-based navigation and

   includes a set-top box for a television and a portable remote control device. The Fire TV




                                                16
Case 1:16-cv-01266-RGA         Document 1       Filed 12/19/16      Page 17 of 23 PageID #: 17




   product receives a spoken request for desired information from the user (such as a spoken

   request for sports scores, weather, music, or a particular television show or movie),

   renders an interpretation of the spoken request, constructs a navigation query, utilizes the

   navigation query to select a portion of an electronic data source, and transmits the

   selected portion from a network server to the Fire TV device, as described on the Fire TV

   product page at http://amazon.com:3




   3
    Plaintiff reserves the right to identify additional asserted claims as this litigation
   proceeds. For example, Plaintiff expressly reserves the right to identify additional
   asserted claims in its infringement contentions to be served during the discovery process.



                                                17
Case 1:16-cv-01266-RGA         Document 1       Filed 12/19/16      Page 18 of 23 PageID #: 18




          49.     Defendants’ Echo product with Alexa Voice Remote, for instance, also

   uses speech-based navigation and includes a portable remote control device. The Echo

   product receives a spoken request for desired information from the user (such as a spoken

   request to play music, provide information, news, sports scores, or weather), renders an

   interpretation of the spoken request, constructs a navigation query, utilizes the navigation

   query to select a portion of an electronic data source, and transmits the selected portion

   from a network server to the Echo device, as described on the Echo and Alexa Voice

   Remote product pages at http://amazon.com:




                                                18
Case 1:16-cv-01266-RGA        Document 1      Filed 12/19/16     Page 19 of 23 PageID #: 19




          50.    Defendants have also infringed indirectly and continue to infringe

   indirectly the ’718 Patent by active inducement under 35 U.S.C. § 271(b).


                                              19
Case 1:16-cv-01266-RGA          Document 1        Filed 12/19/16    Page 20 of 23 PageID #: 20




           51.     On information and belief, Defendants gained knowledge of the ’718

   Patent at least as early as March 2016, when their affiliate Amazon Technologies Inc.

   cited the ’718 Patent in prosecution of its own patent, U.S. Patent No. 9,424,840. In any

   event, on information and belief, Defendants gained knowledge of the ’718 Patent no

   later than the filing of this complaint or shortly thereafter.

           52.     On information and belief, Defendants have intended, and continue to

   intend, to induce patent infringement by its users and have had knowledge that the

   inducing acts would cause infringement or have been willfully blind to the possibility that

   their inducing acts would cause infringement. For example, Defendants encourage end

   users to perform speech-based navigation of an electronic data source using a method as

   claimed in claim 1 of the ’718 Patent through the very nature of the products. As a

   further example, Defendants instruct users on how to use the infringing products to

   perform speech-based navigation of an electronic data source using a method as claimed

   in claim 1 of the ’718 Patent (e.g., “Use Your Voice to Search Amazon Fire TV

   Devices,” available at

   https://www.amazon.com/gp/help/customer/display.html?nodeId=201497650). By using

   the infringing products to perform speech-based navigation of an electronic data source,

   users directly infringe at least claim 1 of the ’718 Patent. By continuing to provide

   instructions to users on how to use the infringing products to perform speech-based

   navigation of an electronic data source using a method as claimed in claim 1 of the ’718

   Patent, and by continuing to encourage such use, Defendants have and continue to

   specifically intend to induce infringement of the ’718 Patent.




                                                 20
Case 1:16-cv-01266-RGA          Document 1        Filed 12/19/16     Page 21 of 23 PageID #: 21




          53.     Defendants have also infringed indirectly and continue to infringe

   indirectly the ’718 Patent by contributory infringement under 35 U.S.C. § 271(c).

          54.     Defendants have and continue to intentionally commit contributory

   infringement by selling, offering to sell, or importing the infringing products, including

   but not limited to the Fire TV Stick, with the knowledge that the Fire TV Stick will be

   used by users with, for example, the Amazon Fire TV Remote app on users’ smartphones

   to directly infringe at least claim 1 of the ’718 Patent.

          55.     Since at least March 2016, Defendants have been and still are willfully

   infringing the ’718 Patent. On information and belief, at least as early as March 2016,

   Defendants had actual knowledge of the ’718 Patent. Despite having actual knowledge

   of the ’718 Patent, Defendants have continued to willfully, wantonly, and deliberately

   infringe the ’718 Patent. Accordingly, Plaintiff seeks enhanced damages pursuant to 35

   U.S.C. § 284 and a finding that this is an exceptional case within the meaning of 35

   U.S.C. § 285, entitling Plaintiff to its attorneys’ fees and expenses.

          56.     To the extent applicable, the requirements of 35 U.S.C. § 287(a) have been

   met with respect to the ’718 Patent.

          57.     As a result of Defendants’ infringement of the ’718 Patent, Plaintiff has

   suffered monetary damages in an amount adequate to compensate for Defendants’

   infringement, but in no event less than a reasonable royalty for the use made of the

   invention by Defendants, together with interest and costs as fixed by the Court, and

   Plaintiff will continue to suffer damages in the future unless Defendants’ infringing

   activities are enjoined by this Court.




                                                 21
Case 1:16-cv-01266-RGA           Document 1      Filed 12/19/16       Page 22 of 23 PageID #: 22




          58.     Unless a permanent injunction is issued enjoining Defendants and their

   agents, servants, employees, representatives, affiliates, and all others acting or in active

   concert therewith from infringing the ’718 Patent, Plaintiff will be greatly and irreparably

   harmed.

                                    PRAYER FOR RELIEF

          Plaintiff prays for the following relief:

          1.      A judgment that Defendants have infringed one or more claims of the

   ’021, ’061, and ’718 Patents;

          2.      A permanent injunction enjoining Defendants and their officers, directors,

   agents, servants, affiliates, employees, divisions, branches, subsidiaries, parents, and all

   others acting in active concert or participation with Defendants, from infringing the ’021,

   ’061, and ’718 Patents;

          3.      An award of damages resulting from Defendants’ acts of infringement in

   accordance with 35 U.S.C. § 284;

          4.      A judgment and order finding that this is an exceptional case within the

   meaning of 35 U.S.C. § 285 and awarding to Plaintiff its reasonable attorneys’ fees

   against Defendants.

          5.      A judgment and order requiring Defendants to provide accountings and to

   pay supplemental damages to Plaintiff, including, without limitation, prejudgment and

   post-judgment interest; and

          6.      Any and all other relief to which Plaintiff may show itself to be entitled.

                                   JURY TRIAL DEMANDED

          Plaintiff hereby demands a trial by jury of all issues so triable.




                                                 22
Case 1:16-cv-01266-RGA        Document 1   Filed 12/19/16     Page 23 of 23 PageID #: 23




   Dated: December 19, 2016                     BAYARD, P.A.

   OF COUNSEL:
                                                /s/ Stephen B. Brauerman
   Marc A. Fenster                              Stephen B. Brauerman (No. 4952)
   Brian Ledahl                                 Sara E. Bussiere (No. 5725)
   Adam Hoffman                                 222 Delaware Avenue, Suite 900
   Amir Naini                                   P.O. Box 25130
   Russ, August & Kabat                         Wilmington, Delaware 19801
   12424 Wilshire Boulevard, 12th Floor         (302) 655-5000
   Los Angeles, CA 90025-1031                   sbrauerman@bayardlaw.com
   (310) 826-7474                               sbussiere@bayardlaw.com
   mfenster@raklaw.com
   bledahl@raklaw.com                           Attorneys for Plaintiff IPA Technologies, Inc.
   ahoffman@raklaw.com
   anaini@raklaw.com




                                           23
